                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                   MILWAUKEE DIVISION



WISCONSIN PIPE TRADES HEALTH FUND, and
WISCONSIN PIPE TRADES 401(k) PLAN AND TRUST,

                                Plaintiffs,                       Case No. 2:25-cv-00618

        vs.

MECHANICAL MASTERS, INC., a Wisconsin
Corporation,

                                Defendant.


                                          COMPLAINT


       NOW COME Plaintiffs, the WISCONSIN PIPE TRADES HEALTH FUND and the

WISCONSIN PIPE TRADES 401(k) PLAN AND TRUST, by and through their attorneys,

JOHNSON & KROL, LLC, complaining of Defendant MECHANICAL MASTERS, INC., and in

support, allege as follows:

                                 JURISDICTION AND VENUE

1.     This action arises under Sections 502 and 515 of the Employee Retirement Income Security

       Act (“ERISA”) (29 U.S.C. §§ 1132 and 1145) and Section 301 of the Labor-Management

       Relations Act. (29 U.S.C. § 185). The Court has jurisdiction over the subject matter of

       this action pursuant to 29 U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331.

2.     Venue is proper in this Court pursuant to 29 U.S.C. § 1132(e)(2) in that the Plaintiffs

       WISCONSIN PIPE TRADES HEALTH FUND (“Health Fund”) and WISCONSIN PIPE

       TRADES 401(k) PLAN AND TRUST (“401(k) Plan”) (collectively, the “Funds”) have



                                           Page 1 of 11
        Case 2:25-cv-00618-LA          Filed 04/29/25     Page 1 of 11    Document 1
     their principal places of business located, and funds administered, in Milwaukee County,

     Wisconsin, and pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the events

     or omissions giving rise to the Funds’ claims occurred in the Eastern District of Wisconsin,

     Milwaukee Division.

                                          PARTIES

3.   The Funds receive contributions from numerous employers pursuant to collective

     bargaining agreements entered into by various employer associations and Locals of the

     United Association of Journeymen & Apprentices of the Plumbing and Pipefitting Industry

     of the United States and Canada, and therefore are multiemployer plans under 29 U.S.C. §

     1002.

4.   The Health Fund was established and is administered pursuant to the terms and provisions

     of a certain Agreement and Declaration of Trust (“Trust Agreement”).

5.   Pursuant to Sections 502(a)(3) and 515 of ERISA (29 U.S.C. §§ 1132 and 1145), the Funds

     are authorized to bring this action on behalf of their participants and beneficiaries for the

     purpose of collecting unpaid contributions.

6.   The Defendant MECHANICAL MASTERS, INC. (“Mechanical Masters”) is a domestic

      close corporation with its principal place of business located in Kansasville, Wisconsin.

                             FACTS COMMON TO ALL COUNTS

7.   Mechanical Masters is an employer engaged in an industry affecting commerce that entered

     into collective bargaining agreements (“Labor Agreements”) with the Plumbers and

     Steamfitters Local Union 118 of the United Association of Journeymen & Apprentices of

     the Plumbing and Pipefitting Industry of the United States and Canada (“Union”) for all

     times relevant in this action. (A copy of the signatory page of Mechanical Masters to the




                                         Page 2 of 11
      Case 2:25-cv-00618-LA          Filed 04/29/25     Page 2 of 11       Document 1
      2007-2013 Labor Agreement is attached as Exhibit 1); (A copy of the Labor Agreement

      currently in effect from June 1, 2023, through May 31, 2025, is attached as Exhibit 2).

8.    Pursuant to the Labor Agreements, Mechanical Masters became bound by the Health

      Fund’s Trust Agreement. (Exhibit 2).

9.    The Union is the bargaining representative of Mechanical Masters’ bargaining unit

      employees. (Exhibit 2).

10.   The Labor Agreements and Trust Agreement require Mechanical Masters to make monthly

      payments to the Health Fund and 401(k) Plan for each hour worked by its bargaining unit

      employees within the Trade and Territorial Jurisdiction (“covered work”) of the Union

      pursuant to the Labor Agreements at the negotiated rate. (Exhibit 2).

11.   Pursuant to the Labor Agreements, Mechanical Masters agreed to deduct specific amounts

      from its bargaining unit employees’ wages and transmit those wage deductions to the

      401(k) Plan on a monthly basis. (Exhibit 2).

12.   The contributions and wage deductions during all relevant times were due on or before the

      15th day of the calendar month following the calendar month during which work was

      performed. (Exhibit 2).

13.   Pursuant to Section 502(g)(2) of ERISA (29 U.S.C. § 1132), the Labor Agreements, and

      Trust Agreement, employers who fail to submit contributions to the Funds are responsible

      for payment of liquidated damages of twenty percent (20%) on all untimely remitted

      contributions and interest of one and one-half percent (1.5%) per month on all untimely

      remitted contributions. (Exhibit 2).




                                         Page 3 of 11
       Case 2:25-cv-00618-LA         Filed 04/29/25     Page 3 of 11      Document 1
                                     COUNT I
                     BREACH OF CONTRACT – REPORTED EMPLOYEES

14.   Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-13 of this

      Complaint with the same force and effect as if fully set forth herein.

15.   In response to the Funds’ demands to produce records for a payroll compliance audit,

      Mechanical Masters only provided detailed payroll records for employees it identified as

      performing covered work under the Labor Agreements and Mechanical Masters had

      previously reported on their behalf to the Funds (hereinafter referred as the “Reported

      Employees”).

16.   A payroll compliance audit for the period of January 1, 2023, through November 30, 2024

      conducted by the Funds’ independent auditor revealed that Mechanical Masters failed to

      pay contributions on behalf of its Reported Employees, which resulted in the assessment

      of liquidated damages and interest, in the aggregate amount of $23,325.11, as itemized

      below:

                                              Liquidated
          Fund:          Contributions:       Damages:            Interest:           Total:
        Health Fund       $18,302.88           $3,034.09           $609.34          $21,946.31
        401(k) Plan        $1,138.45            $200.15             $40.20           $1,378.80
         TOTAL:           $19,441.33           $3,234.24           $649.54          $23,325.11

      (A redacted copy of the January 1, 2023, through November 30, 2024 Audit Report for

      Reported Employees is attached as Exhibit 3).

17.   In response to the audit, Mechanical Masters admitted that it owed the audit findings for

      its Reported Employees. (Email correspondence from Mechanical Masters, including an

      attached PDF listing employees who performed work within the scope of the Labor

      Agreements is attached as Exhibit 4).




                                         Page 4 of 11
       Case 2:25-cv-00618-LA         Filed 04/29/25      Page 4 of 11          Document 1
18.   Mechanical Masters has an ongoing obligation under the Labor Agreements to remit

      contributions on behalf of its covered employees; accordingly, additional contributions,

      liquidated damages, and interest may become due and owing. (Exhibit 2).

19.   Plaintiffs have been required to employ the undersigned counsel to collect the monies that

      are due and owing from Mechanical Masters.

20.   Mechanical Masters is obligated to pay the reasonable attorneys’ fees and court costs

      incurred by the Plaintiffs pursuant to the Labor Agreements, Trust Agreement, and 29

      U.S.C. § 1132(g)(2)(D).



WHEREFORE, Plaintiffs respectfully request:

A.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in the

      amount of $19,441.33 for contributions owed on behalf of the Reported Employees for the

      audit period of January 1, 2023, through November 30, 2024;

B.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in the

      amount of $3,883.78 for liquidated damages and interest (calculated through January 31,

      2025) owed on behalf of the Reported Employees for the audit period of January 1, 2023,

      through November 30, 2024;

C.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in an

      amount to be determined for additional liquidated damages and interest accrued through

      the date of judgment for the unpaid contributions owed on behalf of the Reported

      Employees for the audit period of January 1, 2023, through November 30, 2024;




                                        Page 5 of 11
       Case 2:25-cv-00618-LA        Filed 04/29/25      Page 5 of 11     Document 1
D.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters for any

      and all other contributions, liquidated damages, and interest found to be due and owing in

      addition to those referenced in Paragraphs A through C above;

E.    That Mechanical Masters be ordered to pay the reasonable attorneys’ fees and costs

      incurred by the Plaintiffs pursuant to the Labor Agreements, Trust Agreement, and 29

      U.S.C. § 1132 (g)(2)(D); and

F.    That Plaintiffs have such other and further relief as the Court may deem just and equitable

      all at Mechanical Masters’ cost pursuant to 29 U.S.C. § 1132(g)(2)(E).



                               COUNT II
              BREACH OF CONTRACT – UNREPORTED EMPLOYEES

21.   Plaintiffs re-allege and incorporate the allegations contained in Paragraphs 1-20 of this

      Complaint with the same force and effect as if fully set forth herein.

22.   In addition to the Reported Employees, Mechanical Masters employed approximately 10

      to 15 other individuals during the relevant period (hereafter referred to as the “Unreported

      Employees”).

23.   Many of the Unreported Employees are identified on Mechanical Masters’ website as

      doing plumbing work.

24.   Lucas Shenkenberg is one of Mechanical Masters’ Unreported Employees.




                                         Page 6 of 11
       Case 2:25-cv-00618-LA         Filed 04/29/25      Page 6 of 11          Document 1
25.   Lucas Shenkenberg is identified on Mechanical Masters’ website (mechmast.com/about-

      us) as a Plumbing Apprentice.




26.   Jack Shenkenberg is one of Mechanical Masters’ Unreported Employees.

27.   Jack Shenkenberg is identified on Mechanical Masters’ website (mechmast.com/about-us)

      as a Plumbing Apprentice.




28.   Owen Shenkenberg is one of Mechanical Masters’ Unreported Employees

29.   Owen Shenkenberg is identified on Mechanical Masters’ website (mechmast.com/about-

      us) as a Plumbing Apprentice.




                                          Page 7 of 11
       Case 2:25-cv-00618-LA          Filed 04/29/25     Page 7 of 11   Document 1
30.   Bob Kerkman is one of Mechanical Masters’ Unreported Employees.

31.   Bob Kerkman is identified on Mechanical Masters’ website (mechmast.com/about-us) as

      a Plumbing Apprentice.




32.   Martin Gronka is one of Mechanical Masters’ Unreported Employees.

33.   Martin Gronka is identified on Mechanical Masters’ website (mechmast.com/about-us) as

      a Driver/Pipe Layer.




34.   A payroll compliance audit covering the period of January 1, 2023, through November 30,

      2024, was also conducted on Mechanical Masters by the Funds’ designated auditors

      covering the Unreported Employees.

35.   Relying on the information provided by Mechanical Masters on its website and Mechanical

      Masters’ refusal to provide a detailed statement of the work performed by the Unreported

      Employees, and in accordance with the Funds’ established audit procedures, the auditor


                                        Page 8 of 11
       Case 2:25-cv-00618-LA        Filed 04/29/25     Page 8 of 11     Document 1
      classified the Unreported Employees as performing covered work within the scope of the

      Labor Agreements.

36.   A payroll compliance audit for the period of January 1, 2023, through November 30, 2024

      conducted by the Funds’ independent auditor revealed that Mechanical Masters failed to

      pay contributions on behalf of its Unreported Employees, which resulted in the assessment

      of liquidated damages and interest, in the aggregate amount of $268,307.52, as itemized

      below:

                                              Liquidated
          Fund:           Contributions:      Damages:           Interest:         Total:
        Health Fund        $187,026.68        $37,405.37        $33,502.43      $257,934.48
        401(k) Plan         $7,736.65          $1,547.37         $1,089.02       $10,373.04
         TOTAL:            $194,763.33        $38,952.74        $34,591.45      $268,307.52

      (A redacted copy of the January 1, 2023, through November 30, 2024 Audit Report for

      Unreported Employees is attached as Exhibit 5).

37.   Mechanical Masters’ failure to provide the relevant documentation for certain employees

      does not relieve it of its obligation under the Labor Agreements to make contributions for

      all individuals performing covered work. As such, additional contributions, interest, and

      liquidated damages may continue to become due for those employees until Mechanical

      Masters complies fully with its reporting and contribution obligations.

38.   Plaintiffs have been required to employ the undersigned counsel to collect the monies that

      are due and owing from Mechanical Masters.

39.   Mechanical Masters is obligated to pay the reasonable attorneys’ fees and court costs

      incurred by the Plaintiffs pursuant to the Labor Agreements, Trust Agreement, and 29

      U.S.C. § 1132(g)(2)(D).




                                         Page 9 of 11
       Case 2:25-cv-00618-LA         Filed 04/29/25     Page 9 of 11      Document 1
WHEREFORE, Plaintiffs respectfully request:

A.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in the

      amount of $194,763.33 for contributions owed on behalf of the Unreported Employees for

      the audit period of January 1, 2023, through November 30, 2024;

B.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in the

      amount of $73,544.19 for liquidated damages and interest (calculated through March 6,

      2025) owed on behalf of the Unreported Employees for the audit period of January 1, 2023,

      through November 30, 2024;

C.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters in an

      amount to be determined for additional liquidated damages and interest accrued through

      the date of judgment for the unpaid contributions owed on behalf of the Unreported

      Employees for the audit period of January 1, 2023, through November 30, 2024;

D.    That Judgment be entered in favor of Plaintiffs and against Mechanical Masters for any

      and all other contributions, liquidated damages, and interest found to be due and owing in

      addition to those referenced in Paragraphs A through C above;

E.    That Mechanical Masters be ordered to pay the reasonable attorneys’ fees and costs

      incurred by the Plaintiffs pursuant to the Labor Agreements, Trust Agreement, and 29

      U.S.C. § 1132 (g)(2)(D); and

F.    That Plaintiffs have such other and further relief as the Court may deem just and equitable

      all at Mechanical Masters’ cost pursuant to 29 U.S.C. § 1132(g)(2)(E).




                                         Page 10 of 11
       Case 2:25-cv-00618-LA         Filed 04/29/25 Page 10 of 11          Document 1
                                   Respectfully Submitted,

                                   WISCONSIN PIPE TRADES
                                   HEALTH FUND, et al.

                                   /s/ Jeffrey A. Krol – IL Bar # 6300262
                                   One of Plaintiffs’ Attorneys
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                            Page 11 of 11
Case 2:25-cv-00618-LA   Filed 04/29/25 Page 11 of 11      Document 1
